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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
ESLAM HASSAN,                                                                     10/16/20
               Plaintiff,
                                                    19-CV-8864 (AJN) (BCM)
       -against-
                                                    ORDER SUA SPONTE EXTENDING
CORRECTION OFFICER JANE DOE, et al.                 TIME
               Defendants.

BARBARA MOSES, United States Magistrate Judge.

       By Order dated August 12, 2020 (Dkt. No. 38), the Court directed plaintiff to amend his

complaint no later than September 28, 2020. Chambers mailed a copy of the August 12 Order to

plaintiff at his address of record and one other possible address (an address provided by plaintiff

in another lawsuit pending in this District). The copy mailed to plaintiff's address of record was

later returned undelivered. Plaintiff has not updated his address of record nor filed an amended

complaint.

       In light of plaintiff’s pro se status, the Court sua sponte extends plaintiff’s deadline to

amend his complaint until November 16, 2020. Plaintiff is reminded that it is his responsibility

to advise the Court promptly if his mailing address or other contact information has changed.

Chambers will mail a copy of this order, together with another copy of its August 12 order, to

plaintiff at both addresses.

Dated: New York, New York                        SO ORDERED.
       October 16, 2020


                                                 ________________________________
                                                 BARBARA MOSES
                                                 United States Magistrate Judge
